1 of 20
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page

B[0} = 0;
T=R Ry. / NUM_ SLICE x 0.5:
for(slice = 1; slice < NUM_SLIC ICE; slice++) {
/* Coding one slice */
B[slice] = B[slice - 1] + G[slice} - R[slice};
if( Bislice] > T && B[slice] > Bfslice - 1] && Qs < 31) Qs += 1
else if(B[slice] < -T &&% B B[slice] < B[slice - 1] && Qs > 1) Qs - -= 1;

}

In addition, if the number of Benerated bits in an I-picture exceeds 40% of Coop: OF the

content of the o utput data buffer exceeds 98% of j Its size, all coefficients will be set to 0
so that no codes will be generated.

2.10.4.2. Rate control in P0-picture

A hypothetical buffer is also used in coding a PO-picture, However, its purpose

is to limit the maximum number of generated bits, so that the sum of gene verated bits in I

and PO-pictures does not exceed 50% Of Coop. Therefore, the ny umber of taken bits from
Slice i en umber of bits for

the PO-picture. If the buffer content exceeds a threshold T, which is ¢ equal to the number
of taken bits from the ; buffer, the quantizer scale is increased hy one. These are

incte ased by

B[O} =
T= Cae 0.49 - GI’) NUM LICE;
for(slice = 1; slice < NUM_S Tor, slice++) {

/* Coding one slice */
B{slice] = B{slice - 1] + G[slice] -
if(B{slice] >T ae Qs < 31) Qs +o

a

oO
4
S

In addition, if th Ol generated bits in I and PO-pictures exceeds 49% of Cooes ort
content of the output data b buffer exceed 98% of its Size, then the mo.
YW

mode o
Macroblocks wi ‘apped” mode so that no codes will be generated.

to the "s
2.10.4.3 Rate control in B-picture

The same control rule as that in Pl] and P2-pictures is applied except for the
following two points.

1) The quantizer scale is updated every 10 slices.
2) The quantizer scale is S updated whenever the buffer content Is larger (smalte er) than the
fen

{sm Nave
threshold T (-T) even if the buffer content is smaller (larger) than that at th € previous

These are Summarized as follows:

24

MS-MOTO_752_0001 230316

MS-MOTO_1823_00000720836
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 2 of 20

B(0] = 0;
T=R,. { NUM_SLICE x 1.5;
for( slice = 1; slice < NUM_ SLICE; slice++) {
/* Coding one slice */
B[slice] = B[slice - 1} + G[slice] - R{slice];
if(slice % 10 == 0)
if(B[slice] > T && Qs < 31) Qs +
else if(B{slice] < -T && Qs >
} .
In addition, if the content of the output data buffer exceeds 98% of its size, then the
mode of all Macroblocks will be set to the “skipped” mode so that no codes will be
generated.

9.10.5 Rate control after scene change

The number of generated bits in a P-picture after scene change is much larger than
those in other P-pictures. Therefore, the following rules are exceptionally applied to tate
control when a scene change occurs.

It is determined that a scene change has occurred if more than 50 % of the
Macroblocks in the first four slices in a Pl-picture are coded by the Intra mode. The

izer scale in a Pl-picture where a scene change has been detected is limited to the
quantizer scale at the first slice in the Pl-picture +3, and the quantizer scale in the next
P2-picture is fixed to its initial value defined in Table 2-5. The numbers of allocated bits

for remaining Pl, P2, and B-pictures within a GOP are determined as follows, so that
ts for the next GOP can be used for them:

Roa = ( Roop > Ge + Coop ~ G; x Api_scene_change / A; . Gyo x Apa.seene.chanee / Ar )
/( (Na +3) + Kae * (Nr +3)+ Kyi x (Ns + 16))

Rp = Koy pe X Ra

Rg = Kor * Rp,

where G/ and G,,' are the number of generated bits in the most recently coded I and PO-
pictures, respectively.

Ww
Wa

~~ MS-MOTO_752_0001230317
MS-MOTO_1823_00000720837
f 20
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 30

ecification for coded bit Stream

3.1 Bit. stream syntax specification

name hexadecimal value
picture_ Start_code 00000100
slice_start_codes (including 00000101
Slice_vertical Positions)

through

000001 AE F
reserved 00000180
Teserved 000001B1
user_data_start_code 000001 B2
Sequence_header_code 000001 B3
sequence_error_code 000001B4
extension_start_code 000001B5
reserved 000001B6
sequence_end_code 000001B7
group_start_code 000001B8
system start codes 00000189

through

000001FF

eee eR

next_start_code(Q) { |
while ( {bytealignedQ )
. zero_bit 1 "gv
while ( nextbits() !='0000 0000 0000 0000
0000 0001' )
zero_byte 8 "00000000"
3.1.3 Video sequence layer

video_sequence() {

next_start_code()
an ff

a t
Ssequence_header()
o{
group_ of_pictures()

} while ( Hextbits() == group_start_code )
mf ne
Me

hextbits == sequence _header_code )
Sequence _end_ code - 32 bslbf

26
MS-MOTO_752_0001230318

MS-MOTO_1823_00000720838
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 4 of 20

1} .
— |

3.1.4 Sequence header

sequence_header(Q {

sequence header_code 32 bslbf
horizontal_size 12 uimsbf
vertical_size 12 uimsbf
pel_aspect_ratio 4 uimsbf
picture rate 4 uimsbf
bit_rate 18 uimsbf
marker_bit I "y"
vbv_buffer_size 10 uimsbf
constrained parameter flag 1
load_intra_quantizer_matrix I
if ( load_intra_quantizer_matrix )

intra_quantizer_matrix[64] 8*64 uimsbf
load-_non_intra_quantizer_matrix 1
if ( load_non_intra_quantizer_matrix )

non_intra_quantizer_matrix[64] 8*64 uimsbf
next_start_codeQ

if (nextbits() = == extension_start_code } {

extension start code 32 bslbf
while ( nextbits Q != ‘0000 0000 0000 0C00 0000
0001') {
cannence _extension data Q
eh EB UAUE Ve ea u
}
next_start_code()
}
if (nextbits0) == user_data_start_code Vf
user data start_code 32 bsibf
while ( nextbits() !='0000 0000 0000 0000 0000
0001") {
user data 8
j
next_start_codeQ)
. }
| }
3.1.5 Group of pictures layer
‘| group_of_pictures() {
group start_code 32 bits bsibf
time_code 25
closed_gop 1
broken_ link 1
next_start_code()
27

MS-MOTO_752_0001230319
MS-MOTO_1823_00000720839
20
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 5 of

if ( nextbits() = extension_start Code ) {
extension_start_code 32 bslbf
while ( nextbits() ! I= ‘0000 0000 0000 0000
0000 0001" ) {
éroup_extension_data 8

next_start_code(Q)
1
J
if ( nextbits() == user __data_start _code ) {
user_data start _code 32 bsibf
while ( (nextbits() [= ‘0000 0000 0000 cov0
0000 0001') {
user data 8

}
next_start_code()

do {

picture()

} while ( nextbits() == picture_start_c code )
}

3.1.6 Picture layer

picture() {
Picture_start_code 32 bits bsIbf
temporal_reference . 10 uimsbf
Picture_coding _type 3 uimsbf
vbv_delay 16 uimsbf
if ( picture coding type >= 5 ||
Picture coding _type ==3) {
full_pel _forward d_vector 1
forward_ f 3 uimsbf
}
if ( picture_coding &_type == 3 fi
picture coding_type ==7) {
full —Pel_backward_ vector 1
backward f 3
while ( nextbits sO =='l') { !
extra_bit_picture I "y"
extra_information_picture 8
}
extra_bit picture 1 "gr
next _start_ codeQ
if (nextbits() == exte nsion_start_code df
extensio n_start_code 32 bslbf
while ( nextbits sQ != ‘0000 0000 0000 0000

28

MS-MOTO_752_0001230320
MS-MOTO_1823_00000720840
Case 2:10-cv-01823-JLR Document 173-2

0000 0001") {
picture_extension_data

if (nextbitsQ == user_data_start_code ) {
user_data_start_code
while ( nextbits() != ‘0000 0000 0000 0000
0000 0001") {

32

user_data

(nextbitsQ == slice_start_code )

Filed 02/03/12 Page 6 of 20

bslbf

slice {
slice_start_code
quantizer_scaie 5
while ( nextbits() =='l') {
extra_bit_slice 1
extra_information_slice 8

extra_bit_slice 1
do {

macroblock()

} while (nextbits( != ‘900 6000 0000 0000

next_start_code(Q)

}

32 bit

bslbf
uimsbf

"W 1"

" g"

3.1.8 Macroblock layer

macroblockQ) {
while ( nextbits() == '0000 0001 Lil’)
macroblock_stuffing
while ( nextbits() == ‘0000 0001 000" )
macroblock_escape 1
macroblock_address_increment 1
macroblock_type 1
if (macroblock_quant )
quantizer_scale 5
if ( macroblock_motion_ forward ) {

wD
oO

yiclbf
yiciIbf
vicIbf
vicibf

uimsbf

MS-MOTO_752_0001230321
MS-MOTO_1823_00000720841
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12

if ( picture. coding type !=5)
field_or_frame _forwad 1
if ( picture —coding_type == 6 Il
picture_ coding_type == 7 ||
( picture_ coding _type ==3 &&
field_or_frame_forward ==0))
select_my_forward 1
motion_horizontai |_forward 1-1
inotion Vertical forward | 1
f ( field_or_frame_forward == 1){
dmv_horizonta] |_ forward 1-
dmv_vertical forward 1
}.
}
if (macroblock _motion_backward ) {
if ( Picture coding type == 3)
field _or_frame backward I
if ( picture _coding: type = =3&&
field_or_frame_backward ==0)
select_mv _backward 1
motion_horizontal _backward I-
motion vertical _backward I
if ( field_or_frame _backward == ] df
dmv_horizontal _ backward 1
dmv_vertical |_ backward 1-
)
}
if (macroblock Pattern)
coded_block_pattern 1-8
for (i=0; i<d: i++)
block(i)
if ( picture coding_type == 4 )
end_of macroblock 1

Page 7 of 20

vicibf
viclbf -

Vicibf
viclbf

viclbf

nyt

block(i) {
if ( pattern_, code[i] ) {
if ( macroblock intra ) {

if (i<2) { .
det_dce size luminance 2-7

if(dct_ dc_size_luminance != 0)
det_de_differential 1-8

}

else {
dct_dc_size | Chrominance 2-8
if(det _de_size _chrominance !=0)

30

viciIbf

uimsbf

Viclbf

MS-MOTO_752_0001230322
MS-MOTO_1823_00000720842
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 8 of 20

Q ts oh te
det_dc_differential 1-8 uimsbf
}
Y
: f
else © aoe
de - viciolr
dct_coeff_first 2-28
}
if (picture_coding_type = 4 ){
while ( nextbitsQ) != 010) 3.28 vletbt
ct_coeff_next ; NOLO"
end_of_block
}
j
}
31

MS-MOTO_752_0001230323
MS-MOTO_1823_00000720843
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page

3.2 -Semantic meaning and use of retrieved data elements
3.2.1 Video sequence layer
The meaning of the following data element is the same as in MPEG1 C.D. on 5/31/91.

Sequence_end_code

3.2.2 Sequence header

load_intra_quantizer_matrix -- This is a one-bit flag which is set to "1" if
intra_quantizer_matrix follows. If it is set to "Q" then the default values defined below
are used until the next occurrence of the sequence header.

0 8 11 14 18 i9 2i 26
8 8 I@ 16 19 tS 89
Hl i819 26 «26 S30
4 4 1 19H
4 18 19 kag 9
19 2288 QS
18 192163038
9 2 T8088

intra_quantizer_matrix -- This is a list of 64 8-bit unsigned integers. The new
values, stored in the zigzag scanning order same as that in MPEG! C.D., replace the

default values. The value for intra_quant{0](0] shall always be 0. The new values shall
be in effect until the next nce of a sequence header.

t OcculT

load_non_intra_quantizer matrix -- This is a one-bit flag which is set to "1" if

non_intra_quantizer_matrix follows. If it is set to "0" then the default values defined
below are used until the next occurrence of the sequence header.

8 10 12 4 16 18 20 22
9 i! 13 15 17 19 21 23
10 12 14 16 18 20 22 24
11 13 15 7 19 21 23 25
12 14 16 20 22 24 26
13 15 i7 19 21 23 25 27
14 16 18 20 22 24 26 28
15 17 19 21 23 25 27 29

32

9 of 20

MS-MOTO_752_0001230324

MS-MOTO_1823_00000720844
Case 2:10-cv-01823-JLR

arkar

sequence_extension_data
user data

rT.

horizontal_size -- 720.
verticai_size -- 246.

Document 173-2 Filed 02/03/12 Page 10 of 20

horizontal_size
pel_aspect_ratio
bit_rate
vbv_buffer_size
extension_start_code
user_data_start_code

In our simulation, the data elements mentioned above are set as follows:

PTT one

pel_aspect_ratio --'1100', for CCIR60i, 525 lines.
picture_rate .-- '1000', for 60 pictures/second.
bit_rate -- either 10000 ( for 4 Mbits/sec. ) or 22500 ( for 9 Mbits/sec. ).

vbv_buffer_ size -- unused.

constrained_parameters flag -- unused.

3.2.3

Group of pictures layer

The meaning of the following data elements is the same as in MPEG1 C.D. on 5/31/91.

group start_code
closed_gop
extension_start_code
user_data_start_code

3.2.4 Picture layer

time_code
broken_link

group extension data
user_data

picture_coding type -- The picture_coding_type identifies whether a picture is an
intra-coded picture(I), predictive-coded picture(PO, P1, or P2), bidirectionally predictive-
coded picture(B), or intra-coded with only dc coefficients (D) according to the following
table. D-pictures shall never be included in the same video sequence as other picture

coding types.
picture_coding_type coding method
000 forbidden
001 intra-coded (1)
010 reserved
011 bidirectionally-predictive (B)
100 de intra-caded (D)
101 predictive-coded (PQ)
110 predictive-coded (P1)
111 predictive-coded (P2)

MS-MOTO_752_0001230325
MS-MOTO_1823_00000720845
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 11 of 20

picture_start_code temporal_reference
vbv_delay full_pel_forward_ vector
full_pel_backward_vector extra_bit_picture
extra_information_picture extension _start_code
picture_extension_data user _data_start_code
user_data

The meaning of the following data elements is the same as in MPEG1 C.D. on 12/18/90.
forward_f backward _f
In our simulation, the data elements mentioned above are set as follows :

vby_delay -- unused.
full_pel_forward_vector -- 0.
full_pel_backward_vector -- 0.

3.2.5 Slice layer

quantizer_scale -- An unsigned integer in the range 1 to 31 is used to scale the
reconstruction level of the retrieved DCT coefficient levels. The decoder shall use this
value in the slice if another quantizer_scale is not encountered at the macroblock layer.

The meaning of the following data elements is the same as in MPEG1 C.D. on 5/31/91.

slice_start_code slice_vertical position
extra_bit_slice extra_information_slice

3.2.6 Macroblock layer

quantizer_scale -- An unsigned integer in the range 1 to 31 is used to scale the
reconstruction level of the retrieved DCT coefficient levels. The decoder shall use this
value only one macroblock. The presence of a quantizer_scale is determined from the
macroblock_type.

field_or_frame_forward -- This is 2 one-bit flag for selecting the interpolation mode

for a forward reference picture. This flag is set to 0 if the picture bein g decoded shall

reconstructed by referencing the picture interpolated by the field mode. This flag is

1 if the picture being decoded shall he reconstructed by referencing a picture interpolated

by the frame mode. If the picture_coding_type is a PO-picture, this flag is absent and shall
e set to U.

select_mv_forward -- This is a one-bit flag for selecting a forward reference picture,
This flag is set to 0 if the reference picture reconstructed by forward motion vector is an
even field picture. This flag is set to 1 if the reference picture reconstructed by

efe cture reconstructed by

forward motion vector is an odd field picture. If the picture coding tyne is a PO-n}
I Preeti LAURIE UY Pe iS a cuepl
a

this flag is absent and shall be set to 0. If the picure_coding_type is a B-pictu

tha
Wi

tore
Lut,

34

MS-MOTO_752_0001230326
MS-MOTO_1823_00000720846
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 12 of 20

field_or_frame_forward is 1, this flag is absent and shall be set so that the picture
selected by this flag has the same interlacing phase.

motion_horizontai _forward -- Forward horizontal motion vector for a selected field

picture coded in half pel units according to Table 7-4 in Section 7.

motion_vertical_ forward -- Forward vertical motion v
picture coded in half pel units according to Table 7-4 in Section 7.

SsULcCUe 22h

-_

dmy_horizontal_forward -- Difference between a horizonta motion vector

reconstructed from a forward horizontal motio
forward horizontal motion vector for the not s e
according to Table 7-4g in Section 7. This elemen

field_or_frame_forward flag is set to 1.

oO

dmvy_verticai_forward -- Difference between a vertical motion vector reconstructed

from a forward vertical motion vector for the selected field picture and a forward vertical

motion vector for the not selected field picture coded in one pel units according t
7-4g in Section 7. This element is present only if the field_or_frame_forward f]

1,

ag
“S

field_or_frame_backward -- This is a one- -bit flag for selecting th ¢ interpolation
mode for a backward reference picture. This flag is set io 0 if the picti

shall be reconstructed by referencing a picture interpolated by the field mode. This flag is
set to 1 if the picture being decoded shall be reconstructed by referencing a picture
interpolated by the frame mode. If the picture_coding_type is a P2-picture, this flag is
absent and shall be set to 0.

select_mv_backward -- This is a one-bit flag for selecting a backward reference
picture. This flag is set to Q if a reference picture reconstructed by a backward motion
vector is an even field picture. This flag is set to 1 if the reference picture reconstructed b » oY
a backward motion vector is an odd filed picture. If the picture_coding_type is a P2-
picture, this flag is absent and shall be set to 0. If the picture_coding_type is a B-picture
and field_or_frame_backward is 1, this flag is absent and shall be set so that the picture
selected by this flag has the same interlacing phase.

motion_horizontal_backward -- Backward horizontal motion vector for a selected
field picture coded in half pel units according to Table 7-4 Section 7.

motion_vertical_backward -- Backward vertical motion vector for a selected field
picture coded in half pel units according to Table 7-4 in Section 7.

dmv_horizontal_backward -- Difference between a horizontal motion vector
reconstructed from a backward vertical motion vector for the selected field picture and a
backward horizontal motion vector for the not selected field picture coded in one pel units
according to Table 7-4g in Section 7. This element is present only if the
field_or_frame_backward flag is set to 1.

dmv_vertical_backward -- Difference between a vertical motion vector reconstructed
from a backward vertical motion vector for the selected field picture and a backward

35

MS-MOTO_752_0001230327
MS-MOTO_1823_00000720847
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 13 of 20

al motion vector f d field picture coded in one pel units according to
Table 7-4g in Section 7. This element is present only if the field_or_frame_backward flag

is set to 1.

vertical motion vector for the not selecte
Ss

coded_block pattern -- The variable cbp is derived from the coded_block_pattern
using the variable length code Table 7-3 in Section 7. Then, the pattern_code[i] for i=0 to
3 is derived from cbp using the following:

pattern_codefi] = 0,

if (cbp & (1<<(3-i)) ) pattern_code[i] = 1;

if ( macroblock_intra ) pattern_code[i] = 1;

pattern_code[O} -- If 1, then the left luminance block is to be received in this macroblock.

pattern_code[1] -- If 1, then the right luminance block is to be received in this
macroblock

SEIU.

pattern_code[2} -- If 1, then the chrominance difference block Cb is to be received in this
macroblock.

pattern_code[3] -- If 1, then the chrominance difference block Cr is to be received in this

macroblock.

The meaning of the following data elements is the same as in MPEG1 C.D. on 531/91.
macroblock_stuffing macroblock escape
macroblock_address_increment macroblock _ type

end of macreblock

Tw Eee Ve asa

The meaning of the followin g data elements is the same as in MPEG! C.D. on 12/18/90,

rward motion_vertical forward
backward motion_vertical_ backward

det_coeff_first -- A variable length code according to Tables 7-5¢ through 7-5g i
Section 7 for the first coefficient. The zigzag-scanned quantized dct coefficie

updated as follows.

o

t list i

if(s==0) det_zz[i] = level ;
)  det_zz[i] =-level ;

The terms dct_coeff_first and dct_coeff_next are the run-length encoded and dct_zz/ij,
i> shall be set to zero initially. A variable length code according to Tables 7-5e through

we MCU RE

7-5g and 7-5m is used to represent the run and level of the DCT coefficients.

Ww
ON

MS-MOTO_752_0001230328
MS-MOTO_1823_00000720848
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 14 of 20

dct_coeff_next -- A variable length code according to Tables 7-5h through 7-5m in
Section 7 for coefficients following the first retrieved. The zig-zag scanned quantized dct
coefficient list is updated as follows.

i=it+run+1;
if(s==0) - det_zz2{[i] =level ;
if(s==1)  dct_zzfi] =-level;

If macroblock_intra == 1, then the term i shall be set to zero before the first
dct_coeff_next of the block. ,

The meaning of the following data elements is the same as in MPEG1 C.D. on 5/31/91.

dct_de_size_luminance det_de_size_chrominance
dct_dc_differential end_of_block
37

MS-MOTO_752_0001230329
MS-MOTO_1823_00000720849
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 15 of 20

3.3.1 Intra-coded macroblocks

All blocks are intra-coded and transmitted in the I-pictures . Some macroblocks may be
intra-coded as identified by macroblock_type in the PO-pictures, P1-pictures, P2-pictures
and B-pictures . Thus, macroblock_intra identifies the intra-coded macroblocks,

The discussion of semantics has defined mb_row and mb_colum n, which locate the
macroblock in the picture. The definitions of det_de_differential and dct_coeff_next have
also defined the zigzag-scanned quantized dct coefficient list, det_zz[]. Each dct_zzf] is
located in the macroblock as defined by pattern_code[].

Let us define det_recon[8][8} to be the matrix of the reconstructed det coefficients, where
the first index identifies the row and the second the column of the matrix. Define
det_de_y_past, det_de_cb_past, and dcet_dc_cr_past to be the dcet_recon[0][0] of the most
recently decoded intra-coded Y, Cb, and Cr blocks respectively. The predictors
det_de_y_past, dct_de_cb_past, and dct_dc_cr_past are al! reset at the start of a slice and
at non-intra-coded macroblocks (including skipped macroblocks) to the value 128.

Define intra_quant[8][8] to be the intra quantizer matrix specified in the sequence header.
Note - intra_quant{0][0] is used in the inverse quantizer calculations for simplicity of
description, but the result is overwritten by the subsequent calculation for the de
coefficient.

Define non_intra_quant(8][8] to be the non-intra quantizer matrix specified in the
sequence header.

Define scan[4][8][8] to be the matrix defining the zi &2ag scanning sequence.

The first 8x8 elements of the matrix (scan[O}[]{] ) are used for the intra-coded Inminance

n
AS Ne ARE, a

. block and are defined as follows :
0 2 6 12 20 28 34 50
1 4 11 19 27 33 35 51
3 & 17 25 31 36 49 §2
5 10 18 26 32 37 48 53
7 15 23 30 39 38 47 54
9 16 24 40 45 46 55 60
13 21 29 41 44 56 59 61
14 22 42 43 57 58 62 63

The second 8x8 elements of the matrix ( scan{1}[]f] ) are used for the intra-coded
chrominance biock and are defined as follows :

1 5 6 14 315 27 28 |
4 7 13 16 2% 99 49

8 12 17 25 300 gy ag |
11182431 ggg

OWN O

uo
02

MS-MOTO_752_0001230330
MS-MOTO_1823_00000720850
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 16 of 20

id 19 23 32 39 45 52 54
20 22 33 38 46 51 55 60
21 34 37 47 50 56 59 61

135 36 48 49 57 58 62 63 |

The third 8x8 elements of the matrix ( scan{2][][] ) are used for the non-intra-coded
luminance block and are defined as follows :

8 16 24 32 40 48 5
9 17 25 33 41 49 5
10 18 26 34 42 50 5
li i9 27 35 43 51 5
12 20 28 36 44 52 6
13 21 29 37 45 53 6
14 22 30 38 46 54
15 23 3i 39 47 55 6

TIA AD WH DBS &

The fourth 8x8 elements of the matrix ( scan[3][][] ) are used for the non-intra-coded .
chrominance block and are defined as follows :

0 1 2 3 4 7 15 34
5 6 8 10 14 26 35 56
9 1] 13 16 25 36 43 58
| 12 18 17 24 30 42 350 39
i 25 ai 2? 41 46 a2 OU
20 28 31 37 44 49 54 61
21 32 38 40 46 51 55 62
22 33 39 45 47 53 357 63

Define past_intra_address as the macroblock_address of the most recently retrieved intra-
coded macroblock within the slice. It is reset to -2 at the beginning of each slice.

for the first luminance block:

for (m=0; m<&; m++) [
for (n=0; n<8; n++) {
i=scan[O][m][n] ;
dct_recon[m][n] = ( 2 * det_zz[i] * (64 + quantizer_scale
* intra_quant[{m][n] ) )/ 16;
if ((det_recon{m][n] & 1) ==0)
det_recon[m] (n] = det_recon[m][n] - Sign(det_recon{m]{n])

if (dct_recon[m)[n] > 2047) det_recon[m][n] = 2047 ;
if (det_recon[m][n] < -2048) dct_recon[m]{n] = -2048 ;
}
)
det_recon[0J[0] = dct_zz[0] * 8;

if ( ( macroblock_address - past_intra_address > 1) )
det_recon[O)[0] = 128 * 8 + det_recon[0][0] ;

WwW
Oo

MS-MOTO_752_0001230331
MS-MOTO_1823_00000720851
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 17 of 20

else
det_recon[0][0] = det_de _Y_past + dct_recon[0][0
dct_de_y_past = det _Tecon[0][0] ; nos

For the second luminance block in the macroblock. in the o
me Macrouiock, in the order of the pattern_code list:

for (m=0; m<8; m++) {
for (n=0; n<8; n++) {
i= scan{0] [m][n] ;
det_recon[m]{n] = (2* det_za[i] * (64 + quantizer_scale
* inta_quant(m][n] ))/16 ;

if ( (dct_reconfmlfn] &2 1)a=-0)
wwatpe 4a gully ims i i —— VU)
det_recon[m]{n] = det re
UMyiny = act_recon[m]{n] - Sign(dct Tecon[m][n])

"if (dcet_recon[m][n] > 2047 7) dcet_recon{m][
n} = 2047 ;
ie (det_recon{m][n} < -2048) det _recon[m][n] = -2048 -
}
dct_recon[0][0] = det_dc —~Y_past + det_zz[0] * 8:
det_de_y_past = der _recon[O}[Q] ;

For the chrominance Cb block,:

for (m=0; m<8: m++) [
for (n=0; n<8; n+4) {
i= scan[1){m][{n] ;
det_recon[m][n]} =(2* det_zzfi] * (64 +quantizer_scale
& Lyecay * intra_quant{m]{[n] ) ) / 16;
det_reco m][n} ] = ct rec |
—TeECon = dct_recon[m][n]-Sign(dct_recon
f te _recon{mj{n] > 2047) det_recon{m][n] = 2047 « mile
set recon{m|{n} < -2048) det_recon{m](n] = -2048 -

if ( d onlmilf
hFEE LTUL

r.
numjin

)
}

er econ,

else
act t_recon[0]{0] = det_de_cb
det deeb past der recon{0}{0) —Cb_past + det_recon[0][0] ;

b_pa ANd
rr — ;

For the chrominance Cr block, :
for (m=0; m<8; m++)
for (n=0; <8; n+
n{ijim {n];
det_recon[m) n)=(2* det —22[1] * (644 quantizer_scale
*j Inta_quant{m][n] ))/16;

if ((det_recon[m][n] & 1 )=0)
d reconim

if et. ect_recon{m {nj = det Tecon[m][{n]- Sign(det _recon{m][n]) ;
recon[m]{n] > 2047) det_recon{m][n] = 2047 ;

MS-MOTO_752_0001230332
MS-MOTO_1823_00000720852
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 18 of 20

if (det_recon{m][n] <-2048) dct_recon[m][n] = -2048 ;
)

}

if ( (macroblock_address - past_intra_address > 1))
dct_recon[0][0] = 128 * 8 + dct_recon[0](0] ;
else

After all the blocks in the macroblock are processed:

past_intra_address = macroblock_address ;

Once the dct coefficients are reconstructed, the inverse DCT transform is applied to obtain
the inverse transformed pel values in the range [-256, 255]. These pel values must be
clipped to the range [0, 255] and are placed in the luminance and chrominance matrices in
the positions defined by mb_row , mb_column, and the pattern_code list.

3.3.2 Predictive-coded macroblecks in PQ- and P1-pictures

Predictive-coded macroblocks in PO- and Pl-pictures are decoded in two steps. First, the
value of the forward motion vector for the macroblock is reconstructed and a prediction
macroblock is formed, as detailed below. Second, the DCT coefficient information
stored for some or all of the blocks is decoded, inverse DCT transformed, and added to
the prediction macroblock.

Let recon_right_for[] and recon_down_for[] be the reconstructed horizontal and
vertical components of the motion vector for the current macroblock, and
recon_right_for_prev{] and recon_down_for_prev[] be the reconstructed motion
vector for the previous predictive-coded macroblock. The index of the matrix may be
either 0 or 1. If the index equals 0, the motion vectors are used for reconstructing the
even field reference picture. If the index equals 1, the motion vectors are used for
reconstructing an odd field reference picture. If this is the first macroblock in the slice, or
if the last. macroblock contained no motion vector information (either because it was
skipped or macroblock_motion_forward was zero), then recon_right_for_prev{] and
recon_down_for_prev{] shall be set to zero.

If no forward motion vector data exists for the current macroblock (either because it was
skipped or macroblock_motion_forward == 0), the motion vectors shall be set to zero.

If forward motion vector data exist for the current macroblock, the followin g procedure is
used to reconstruct the motion vector horizontal and vertical components. Decoded values

right_little, right_big, down_little and down_big are found from an appropriate
Table 7-4a through 7-4f in Section 7.

ta
—

MS-MOTO_752_0001230333
MS-MOTO_1823_00000720853
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 19 of 20

Let fi_or_fr_for_prev be the flag of the interpolation mode a the previous-coded
macroblock. If this is the first macroblock in the slice, or if the last macroblock decoded
contained no motion vector information, then fi_or_fr_for_prev shall be set to zero.

Let sel_mv_for_prev be the flag of select_mv_forward for a Previous predictive-coded
macroblock. If this is the first macroblock in the Slice, or if the last macroblock decoded
contained no motion vector information, then sel_mv_for_prev shall be set to zero.

Let dist[0] be the distance between an even field reference picture and a current
decoding picture. Let dist[1] be the distance between an odd field reference picture and a
current decoding picture.

"Th a ol

Then the motion vector in half-pel units is reconstructed as follows:

* forward_f)-1;

max = (
m ( forward_f);

nin =

16
-i

L
0

if ( fi_or_fr_for_prev == 0 ) {
new_vector = recon_right_for_prev {sel_mv_for_prev] + right_little :
if (new_vector <= max && new_vector >= min )
recon_right_for[select_mv_forward]
=recon_righ t_for_prev[sel_mv_for_prev] + right_little ;
else
Tecon_ni ght_for[select_mv_forward] .
= recon_right_for_prev[sel_m v_for_prev] + right_big ;
Tecon_right_for_prev{select_mv_forward]
=recon_ri ght_for[select_mv_forward] ;

new_vector = recon_down_for_prev[sel_mv_for_prev] + down_little ;
if (new_vector <= max && new_vector >= min)
recon_down_for[select_mv_forward]
= recon_down_for_prev[sel_mv_for_prev] + down_little

Aa tea

we

else
recon_down_for[select_mv_forward]
= recon_down_fot_prev[sel_mv_for_prev] +down_bi

Tecon_down_for_prev[select_mv_forward]
= recon_down_for[select_mv_forward] ;

else [{
new_vector = recon_ri ght_for_prev{select_mv_forward] +ri
if (new_vector <= max && neéw_vector >= min )
recon_right_for[select_mv_forward]
= recon_right_for_prev[select_mv_forward] +right_little ;
else
recon_ni ght_for[select_mv_forward]
= recon_right_for_prev[select_m v_forward] + right_bi 23
recon_right_for_prev[select_mv_forward]
=Trecon_ri ght_for{select_mv_forward] ;

new_vector = recon_down_for_prev[select_mv_forward] + down_Hittle ;

two

4

MS-MOTO_752_0001230334
MS-MOTO_1823_00000720854
Case 2:10-cv-01823-JLR Document 173-2 Filed 02/03/12 Page 20 of 20

if (new_vector <= max && new_vector >= min )

tecon_down_for[{select_mv_forward]
= recon_down_for_prev[select_mv_forward] + down_little

else
recon_down_for[select_mv_forward]
= recon_down_for_prev[select_mv_forward] + down_big ;
econ_down_for_prev[select_mv_forward]
=tecon_down_forfselect_mv_forward] :

)

if ( field_or_frame_forward == 1) {
recon_right_for[!select_mv_forward]

= 2 * (( (double) recon_right_for[select_my_forward] {2.0 *
dist[!select_mv_forward] / dist[select_mv_forward] )/ 1
- dmv_horizontal_ forward ):

Wise iwi}

con dow wn _for[!select_ mv_forward]

2 * (( (double) recon_down_for[select_mv_forward] / 2.0 *
dist{!select_mv_forward] / dist[select_mv_forward] )/ 1
- dmv_vertical_ forward);
con_night for_prev{!select_mv_forward]
= recon_right_for[!select_mv_forward] ;

recon_down_for_prev[!select_mv_forward]
= recon_down_for[!select_mv_forward] ;

eee Ginsty ,

}

if ( select_mv_forward == 0 && (dist(0]) %2==1))

recon_down_for[select_mv_forward] ++;

see AVE Louse ve aus

’
if ( select_mv_forward == 1 && ( distf0] % 2 ==9 } )

lec & ( dist[{0}
recon_down_for[select_mv_forward] -- ;
fi_or_fr_for_prev = field_or_frame_forward ;

sel_mv_for_prev

_pY = select my forward :
Mutter ?

The motion vectors in integer pel units for the macroblock, ri ght_for[] and down_for[],
and the half pel unit flags, right_half_for[] and down_half_for[], are computed as

follows:

4a’

for luminance for chrominance
winehe faell i. prs
Tignt_1oriy TgNt_Ior] }
= recon_right_for[] >> 1; = (recon_right_for{j /2) >> 1
fownforll down_for[]

= recon_down_for[] - 2*down_for[] ;

= (recon_down_for{]/2)>>1;
right_haif_for[]j

= recon_right_for{]/2 - 2*right_for[] ;
down_half_for[]

= recon_down_for[}/2 - 2*down_for[];

MS-MOTO_752_0001230335
MS-MOTO_1823_00000720855
